      Case 2:25-cv-01435-CMR        Document 1      Filed 03/18/25   Page 1 of 32




           IN THE UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 DO NO HARM,
                                    Plaintiff,
       v.
                                                 Civil Action No.:
 THE UNIVERSITY OF PENNSYLVA-
 NIA HEALTH SYSTEM; PERELMAN
 SCHOOL OF MEDICINE AT THE
 UNIVERSITY OF PENNSYLVANIA;
 THE UNIVERSITY OF PENNSYLVA-
 NIA; TRUSTEES OF THE UNIVER-
 SITY OF PENNSYLVANIA; THE
 CONSORTIUM OF DEI HEALTH
 EDUCATORS; and WURD RADIO,
 LLC,
                        Defendants.

                                    COMPLAINT
      Do No Harm brings this action against the University of Pennsylvania Health

System, Perelman School of Medicine at the University of Pennsylvania, the University

of Pennsylvania, the Trustees of the University of Pennsylvania, the Consortium of

DEI Health Educators, and WURD Radio, LLC, under Title VI of the Civil Rights Act

of 1964, Section 1557 of the Affordable Care Act, and Pennsylvania law. Do No Harm

seeks declaratory relief, injunctive relief, and nominal damages.

      1.     “[R]acial discrimination is invidious in all contexts,” especially in

healthcare SFFA v. Harvard, 600 U.S. 181, 214 (2023) (cleaned up). It “demeans the

dignity and worth” of providers and patients to judge them “by ancestry” instead of




                                             1
      Case 2:25-cv-01435-CMR         Document 1      Filed 03/18/25    Page 2 of 32




their “merit and essential qualities.” Id. at 220. And when American citizens are put on

“racial registers,” it “demeans us all.” Id. at 262 (Thomas, J., concurring).

       2.     Despite these hard-won principles, the medical profession has been be-

sieged by the pernicious ideology of “racial concordance.” Racial concordance states

that patients do better when they are the same race as their doctors and that they do

worse when they are a different race from their doctors. This bunk ideology encourages

patients and doctors to treat each other not as individuals but as components of racial

groups. It sows distrust between patients and doctors who are different races. And it

prioritizes race over medical skill, judgment, and experience.

       3.     But racial concordance has been thoroughly debunked. See Kingsbury &

Greene, Racial Concordance in Medicine: The Return of Segregation 3, Do No Harm (Dec. 19,

2023), perma.cc/339T-Y23Z. Do No Harm conducted an exhaustive study of the re-

search supposedly supporting racial concordance. “Medical research does not support

racial concordance.” Id. This “return of segregation of medicine” is “a recipe for even

worse health outcomes for members of every race.” Id.

       4.     Defendants embrace racial concordance—to the extreme. Defendants say

there are “[r]acial health disparities” in Philadelphia. Ex. A, About Us, Black Doctors

Directory (last visited Mar. 17, 2025), perma.cc/U3AF-P5DM. Then they blame these

disparities on so-called systemic racism—in other words, a failure of non-black doctors:

“When [black patients] enter the health systems, our humanity is not seen. It’s not val-

ued. It’s not respected.” onWURD, Black Doctors Directory 2:21-2:29, YouTube (Oct. 8,

                                             2
      Case 2:25-cv-01435-CMR        Document 1      Filed 03/18/25    Page 3 of 32




2024), bit.ly/4iHaqQI. Defendants believe that “racial congruence” would “improv[e]

outcomes for African American patients.” Ex. A.

      5.     From that flawed premise, Defendants created the Black Doctors Direc-

tory. The Directory collects and shares information about doctors in southeastern

Pennsylvania, New Jersey, and Delaware with the goal of making it easier for black

patients to find black doctors. Non-black doctors are excluded. No matter how regu-

larly they treat black patients. No matter how sincerely they care for all patients. And

no matter how much they improve their patients’ health.

      6.     The Black Doctors Directory is illegal. Congress enacted Title VI of the

Civil Rights Act of 1964 to root out racial discrimination by entities that accept federal

financial assistance. “No person in the United States shall, on the ground of race, color,

or national origin, be excluded from participation in, be denied the benefits of, or be

subjected to discrimination under any program or activity receiving Federal financial

assistance.” 42 U.S.C. §2000d.

      7.     The Directory is a federal program or activity under Title VI because it is

an operation of Penn Medicine and the Consortium. Penn Medicine receives federal

financial assistance; all of their operations—including the Directory—are covered by

Title VI. All of the Consortium’s operations are covered because the Consortium is an

entity created by Philadelphia-area medical schools that are federal-funds recipients.

And WURD Radio is liable under Title VI because it exercises “controlling authority”

over the Directory, a federal program or activity. See, e.g., Smith v. NCAA, 266 F.3d 152,

                                            3
      Case 2:25-cv-01435-CMR         Document 1       Filed 03/18/25    Page 4 of 32




160 (3d Cir. 2001); Doe One v. CVS Pharmacy, Inc., 2022 WL 3139516, at *12 (N.D. Cal.

Aug. 5). Defendants’ exclusion of non-black doctors from the Directory because of

race violates Title VI.

       8.     The Directory also violates Section 1557 of the Affordable Care Act. Con-

gress enacted Section 1557 to root out racial discrimination from “health program or

activity.” 42 U.S.C. §18116(a). The Directory constitutes a health program or activity

because it assists patients in obtaining health-related services. 45 C.F.R. §92.4. Defend-

ants are liable under Section 1557 for excluding non-black doctors from this health

program or activity. In addition, the Directory is a health program or activity because it

is an operation of Penn Medicine and the Consortium, which are principally engaged in

providing medical care and health education for healthcare professionals. At a mini-

mum, because Defendants violate Title VI, they also violate Section 1557.

       9.     Defendants are also liable for civil conspiracy under Pennsylvania com-

mon law because they conspired to intentionally exclude non-black doctors from the

Directory in violation of Title VI and Section 1557. And Defendants’ conspiracy

harmed non-black doctors, including Do No Harm’s members.

       10.    To the extent individual black patients have been “wronged by unlawful

racial discrimination,” those individual patients “should be made whole.” Adarand Con-

structors, Inc. v. Pena, 515 U.S. 200, 239 (1995) (Scalia, J., concurring in part and concur-

ring in the judgment). But the law prohibits race-based programs, like the Directory,

that are untethered to remedying individual instances of discrimination but instead try

                                             4
      Case 2:25-cv-01435-CMR           Document 1     Filed 03/18/25    Page 5 of 32




to fix vague “past societal discrimination.” Harvard, 600 U.S. at 226. Such race-based

programs violate both the “letter” and “spirit” of equality woven into Title VI and Sec-

tion 1557. Harvard, 600 U.S. at 227.

       11.    “Eliminating racial discrimination means eliminating all of it.” Id. at 206.

It’s especially essential to eliminate the “mischief” of racial concordance from

healthcare because it sows, “reinforce[s],” and “preserve[s]” unfounded distrust be-

tween doctors and patients on racial lines. Adarand, 515 U.S. at 239 (Scalia, J., concur-

ring in part and concurring in the judgment). Do No Harm is entitled to relief.

                                        PARTIES
       12.    Plaintiff, Do No Harm, is a nationwide membership organization of

healthcare professionals, students, patients, and policymakers who want to protect

healthcare from radical, divisive, and discriminatory ideologies. Do No Harm’s purpose

is to keep these ideologies out of medical education, clinical practice, and research fields.

       13.    Do No Harm accomplishes its mission through education and advocacy

about the dangerous ideas being embedded in medicine and related fields. It has, among

other things, sued the University of Washington School of Medicine for operating a

BIPOC physicians-only directory, sued private medical and health-research organiza-

tions for creating racially exclusive fellowships, and filed administrative complaints

against medical schools that create fellowships and scholarships that exclude students

based on race.




                                             5
         Case 2:25-cv-01435-CMR      Document 1     Filed 03/18/25   Page 6 of 32




         14.   Do No Harm has at least one member, Member A, who is excluded from

the Directory based on race. A white doctor who serves many black patients, Member

A is ready and able to apply for his name to be added to the Directory, once a court

orders Defendants to stop discriminating. He will do so, as soon as a court issues that

order.

         15.   Defendant, University of Pennsylvania Health System, is a private hospital

system affiliated with the University of Pennsylvania with presence in southeast Penn-

sylvania, New Jersey, and Delaware. Together with the Perelman School of Medicine at

the University of Pennsylvania, the Penn Health System conducts business as Penn

Medicine. See Penn Med., Facts & Figures 2023 at 2 (last visited Mar. 17, 2025),

perma.cc/9WER-R79S. The Penn Health System—through Penn Medicine—is in part-

nership with the Consortium and WURD Radio to facilitate and operate the Directory,

which excludes non-black doctors. The Penn Health System is headquartered in Phila-

delphia, Pennsylvania.

         16.   Defendant, Perelman School of Medicine at the University of Pennsylva-

nia, is a private medical school within the University of Pennsylvania. Together with the

Penn Health System, the medical school conducts business as Penn Medicine. See id.

The medical school—through Penn Medicine—is in partnership with the Consortium

and WURD Radio to facilitate and operate the Directory, which excludes non-black

doctors. The medical school is located in Philadelphia, Pennsylvania.




                                            6
         Case 2:25-cv-01435-CMR     Document 1     Filed 03/18/25    Page 7 of 32




         17.   Defendant, University of Pennsylvania, is a private university located in

Philadelphia, Pennsylvania. The University operates the Penn Medical School and is

closely affiliated with the Penn Health System, and its board oversees the activities of

Penn Medicine. The University—through Penn Medicine—is in partnership with the

Consortium and WURD Radio to facilitate and operate the Directory, which excludes

non-black doctors. The University is located in Philadelphia, Pennsylvania.

         18.   Defendant, Trustees of the University of Pennsylvania, govern and are

responsible for the University’s actions, including the medical school’s. The Trustees

created the Penn Medicine Board and oversee the activities of Penn Medicine through

that board. See Penn Univ. Sec’y, Penn Medicine Board (last visited Mar. 17, 2025),

perma.cc/63MT-YMUZ. The Trustees—through Penn Medicine—are in partnership

with the Consortium and WURD Radio to facilitates and operates the Directory, which

excludes non-black doctors. The Trustees are headquartered in Philadelphia, Pennsyl-

vania.

         19.   Defendant, Consortium of DEI Health Educators, is an organization

whose mission is to “increase the number of historically underrepresented and socio-

economically disadvantaged students, faculty, educators, and administrators who learn,

practice, teach, and perform research in healthcare and biomedical science within the

greater Philadelphia area.” CDHE, About Us, LinkedIn (last visited Mar. 17, 2025),

perma.cc/59RA-LCAV.




                                            7
      Case 2:25-cv-01435-CMR        Document 1     Filed 03/18/25   Page 8 of 32




      20.    The Consortium is composed of seven medical and health science schools

in the Philadelphia area: the Lewis Katz School of Medicine at Temple University, Phil-

adelphia College of Osteopathic Medicine, Salus University, Sidney Kimmel Medical

College at Thomas Jefferson University, Drexel University’s College of Medicine, Pe-

relman School of Medicine at the University of Pennsylvania, and Cooper Medical

School of Rowan University. Id. These schools accept federal financial assistance in the

form of federal student aid and federal research grants.

      21.    The Consortium is in partnership with Penn Medicine and WURD Radio

to operate the Directory, which excludes non-black doctors. The Consortium is head-

quartered in Philadelphia, Pennsylvania.

      22.    Defendant WURD Radio LLC operates 900AM-WURD in Philadelphia,

“the only African-American owned and operated talk radio station in the Common-

wealth of Pennsylvania.” See About Us, WURD (last visited Mar. 17, 2025),

perma.cc/PR25-42YS.

      23.    WURD Radio is in active partnership with Penn Medicine and the Con-

sortium to operate the Directory, which excludes non-black doctors. Penn Medicine

and the Consortium have ceded controlling authority over the Directory’s day-to-day

operations to WURD Radio.




                                           8
      Case 2:25-cv-01435-CMR        Document 1     Filed 03/18/25    Page 9 of 32




                         JURISDICTION AND VENUE
        24.   This Court has subject-matter jurisdiction under 28 U.S.C. §1331 and

§1367(a).

        25.   Venue is proper in the Eastern District of Pennsylvania under 28 U.S.C.

§1391 because Defendants reside here and a substantial part of the events and omis-

sions giving rise to the claim occurred here.

                           FACTUAL ALLEGATIONS
I.      Defendants operate the Black Doctors Directory, which
        excludes non-black doctors.
        26.   Defendants are operating the Black Doctors Directory, an advertising and

marketing opportunity only for black doctors that excludes non-black doctors. See

Ex. B, WURD, Black Doctors Directory (last visited Mar. 17, 2025), perma.cc/4HC8-

W972.

        27.   The Directory lets doctors advertise themselves by posting their specialty,

address, contact information, affiliated hospital, and picture. Ex. C, Our Doctors, Black

Doctors Directory (last visited Mar. 17, 2025), perma.cc/5WWG-KQ3V.

        28.   But as its name suggests, the Black Doctors Directory is for black doctors

only. Defendants market and advertise the Directory across the internet as the Black

Doctors Directory. The URL for the website is “phillyblackdoctors.com.”




                                            9
      Case 2:25-cv-01435-CMR       Document 1     Filed 03/18/25   Page 10 of 32




       29.    The Directory “gathers information on Black/African-American doctors

across multiple specialties and health systems in the region” and provides a searchable

directory that patients can use to find black doctors in the region. Ex. A (emphasis

added).

       30.    Defendants work through “intentional” outreach that is “wide and broad”

to “captur[e] the entire region in terms of black physicians.” onWURD, Black Doctors

Directory, supra at 3:40.

       31.    The Directory’s goal is to ensure “[e]asy access to Black healthcare pro-

viders.” Ex. A.

       32.    And the Directory explains that it wants to further “racial congruence”

between black patients and their doctors in Philadelphia. Id.




                                           10
         Case 2:25-cv-01435-CMR      Document 1    Filed 03/18/25    Page 11 of 32




         33.   Defendants explain that, in their view, black patients “come” to the

healthcare system “with distrust, fear, and, often, anxiety.” onWURD, Black Doctors Di-

rectory, supra at 0:23-0:29. The Directory is meant to address the “challeng[e]” of

“find[ing] black doctors.” Id. at 1:38.

         34.   Defendants further say that they created the Directory to enable black

patients to find doctors who are “culturally aligned”—by which Defendants mean black

doctors. Id. at 4:00.

         35.   True to Defendants’ promise, the Directory features only black doctors.

II.      Defendants discriminate against Do No Harm’s members.
         36. Do No Harm has at least one member, Member A, who is excluded from

the Directory because he’s white.

         37.   Member A is an experienced dermatologist in southeastern Pennsylvania.

His practice often involves overlap with autoimmune issues, cancer, and infectious dis-

eases.

         38.   As part of his dermatologist practice, Member A treats all patients to the

best of his ability regardless of race. Member A regularly treats and sees black patients.

He deeply cares for them and always strives to provide them with the best care. Mem-

ber A considers it a professional obligation to connect with his patients on a deeper

level and to be an empathetic provider.




                                            11
      Case 2:25-cv-01435-CMR       Document 1      Filed 03/18/25   Page 12 of 32




      39.    Member A advertises and markets his practice across various platforms,

such as Google ads. Member A is also on various directories so that patients can find

his information.

      40.    But Member A is excluded from Defendants’ Black Doctors Directory

because he is white, not black.

      41.    In late 2024, Member A learned of the Directory and visited the website.

He saw that the title says the Directory is for black doctors that the purpose is to help

black patients find black doctors and further racial congruence. He also watched the

YouTube video explaining that the Directory exists to enable black patients to find

black doctors.

      42.    Member A also saw that doctors could “[r]equest more information on

how to be listed” on the Directory. See Ex. D, Contact Us, Black Doctors Directory (last

visited Mar. 17, 2025), perma.cc/C3Y3-5M84. But this page, too, reiterated that only a

“Black Doctor” could be suggested as an addition. Id. Member A thus found it futile to

apply for the Directory.

      43.    Member A finds it hurtful and disappointing that Defendants consider

him to be less equipped or less capable of providing empathy and depth to black pa-

tients. Member A is similarly dismayed by Defendants’ unfounded suggestion that his

black patients won’t do as well because he is not black. And he is similarly disappointed

that he is not welcome or eligible to add his name on a Directory that reaches a large

swath of the Philadelphia population.

                                           12
      Case 2:25-cv-01435-CMR        Document 1     Filed 03/18/25   Page 13 of 32




          44.   Because Member A is excluded from the Directory, he is competitively

disadvantaged in comparison to black doctors who are on the Directory. He cannot

reach potential patients on an equal footing and in the same manner as a black doctor

on the Directory. The competitive deficit is especially significant because Penn Medi-

cine—which partners with WURD Radio and the Consortium—is a well-known and

prestigious health system in the region. And it has a sprawling presence across south-

eastern Pennsylvania, New Jersey, and Delaware. Being on the Directory—with Penn

Medicine’s blessing—would help him reach many additional potential patients.

          45.   Member A is ready and able to request to add his name to the Directory

if a court orders Defendants to stop discriminating against non-black doctors. He was

ready when he initially investigated the website, and he will apply as soon as that order

issues.

          46.   Member A is pseudonymous because he is a doctor in southeastern Penn-

sylvania with some ties to Penn Medicine; and if his participation in this litigation be-

comes public, he fears reprisal from other health professionals, Penn Medicine, and the

public. Member A also does not want Defendants to hold his involvement in this law-

suit against him when deciding whether to allow him to be on the Directory.




                                           13
      Case 2:25-cv-01435-CMR       Document 1      Filed 03/18/25   Page 14 of 32




                              CLAIMS FOR RELIEF
                                    COUNT I
             Violation of Title VI of the Civil Rights Act of 1964
                           (Against All Defendants)
                          (42 U.S.C. §2000d et seq.)
      47.    Do No Harm repeats and realleges the preceding allegations.

      48.    Title VI of the Civil Rights Act of 1964 provides that no person “shall, on

the ground of race, color, or national origin, be excluded from participation in, be de-

nied the benefits of, or be subjected to discrimination under any program or activity

receiving Federal financial assistance.” 42 U.S.C. §2000d.

      49.    Private individuals can sue to enforce Title VI and obtain both injunctive

relief and damages. See Alexander v. Sandoval, 532 U.S. 275, 279-80 (2001).

      50.    The Directory is an operation of Penn Medicine. The Directory website

states that the Directory “is presented by Penn Medicine.” Ex. A.

      51.    Penn Medicine’s CEO and doctors actively participate in promoting the

Directory. Penn Medicine’s CEO announced that Penn Medicine is “in partnership”

with WURD Radio to “launch[] the Black Doctors Directory.”




                                           14
     Case 2:25-cv-01435-CMR      Document 1     Filed 03/18/25   Page 15 of 32




See Kevin Mahoney, LinkedIn (last visited Mar. 17, 2025), perma.cc/5FZ6-XQ5M.

      52.   The Directory uses Penn Medicine’s logo to borrow its prestige and influ-

ence with patients in the region and to let everyone know that Penn Medicine is “in




                                        15
      Case 2:25-cv-01435-CMR       Document 1      Filed 03/18/25   Page 16 of 32




partnership with” WURD Radio and the Consortium to facilitate and operate the Di-

rectory. Ex. A; see also onWURD, Black Doctors Directory, supra.




      53.    Penn Medicine’s CEO and doctors appeared in a YouTube promotional

video. See onWURD, Black Doctors Directory, supra.




                                           16
Case 2:25-cv-01435-CMR   Document 1   Filed 03/18/25   Page 17 of 32




                               17
      Case 2:25-cv-01435-CMR       Document 1      Filed 03/18/25   Page 18 of 32




      54.    Penn Medicine also posted on its Facebook page that it launched the Di-

rectory to further its “key priority” of advancing “health equity.” Penn Medicine – Abra-

hamson Cancer Center (Jan. 16, 2025), bit.ly/3RcF0WF.




      55.    And on the Directory website, Penn Medicine collaborates with WURD

Radio to feature “Health and Healing” radio segments.


                                           18
      Case 2:25-cv-01435-CMR        Document 1      Filed 03/18/25    Page 19 of 32




         56.   The Directory is also an operation of the Consortium. The Directory in

multiple places states that it is “in partnership with” the Consortium. Indeed, the Di-

rectory states that one of the “features” of the Directory is to provide for “[e]asy access

to Black healthcare provides from Penn Medicine, Jefferson, Temple, [and] Drexel.”

Ex. A. These schools are member institutions of the Consortium. CDHE, About Us,

supra.




                                            19
      Case 2:25-cv-01435-CMR      Document 1      Filed 03/18/25   Page 20 of 32




      57.    The Directory is a federal “program” and “activity” under Title VI for

multiple reasons.

      58.    First, the Directory is an operation of Penn Medicine, which in turn is an

operation of the University of Pennsylvania. Under Title VI, the term “program or ac-

tivity” means “all of the operations of” a “university … any part of which is extended

Federal financial assistance.” §2000d-4a(2)(A). The University is covered by Title VI.

Penn, Office of Religious and Ethnic Interests (Title VI) (last visited Mar. 17, 2025),

perma.cc/5MVJ-L59K. The University accepts federal financial assistance in the form

of federal student aid, see Penn, Financial Aid Funds (last visited Mar. 17, 2025),

perma.cc/MFL9-HQP5, and federal research grants, Penn, Funding (last visited Mar. 17,

2025), perma.cc/ZLT6-PC7P, to name a few. Because the University is covered by Title

VI, all of its operations—including Penn Medicine and the Directory—constitute a fed-

eral program or activity.

      59.    Second, the Directory is an operation of Penn Medicine, which is princi-

pally engaged in providing education and healthcare. Title VI defines a “program or

activity” as “all of the operations of” “an entire … private organization … which is

principally engaged in the business of providing education [and] health care … any part

of which is extended Federal financial assistance.” §2000d-4a(3)(A)(ii). Penn Medicine

consists of the Penn Health System and the Penn Medical School and is thus principally

engaged in providing healthcare and education. The Penn Health System accepts federal

financial assistance in the form of Medicare and Medicaid payments. See Penn Med.,

                                          20
      Case 2:25-cv-01435-CMR        Document 1      Filed 03/18/25     Page 21 of 32




Penn Medicine’s Accepted Health Plans (last visited Mar. 17, 2025), bit.ly/4iQsbgB. And the

Penn Medical School accepts federal financial assistance in the form of federal student

aid and research grants. Because Penn Medicine is principally engaged in providing

healthcare and education, the Directory—an operation of Penn Medicine—is covered

by Title VI.

       60.     Third, the Directory is an operation of the Consortium. Title VI defines

a federal “program or activity” to include “all of the operations of” any entity “estab-

lished by two or more of the entities” described in §2000d-4a(1), (2), or (3). §2000d-

4a(4). The Consortium “is comprised of seven medical and health science schools” in

the southeast Pennsylvania, Jersey, and Delaware area. CDHE, About Us, supra. All

these schools are covered by Title VI. Because these schools created the Consortium,

the Consortium is covered by Title VI. See §2000d-4a(4). For that reason, all the Con-

sortium’s operations—including the Directory—is a federal program or activity.

       61.     WURD Radio is also liable under Title VI. In NCAA v. Smith, the Su-

preme Court left open the possibility that “when a [federal funds] recipient cedes con-

trolling authority over a federally funded program to another entity, the controlling en-

tity is covered by” statutes like Title VI or Title IX “regardless of whether it is itself a

recipient.” 525 U.S. 459, 469 (1999). This position was endorsed by the United States.

Id. (citing U.S.-Smith-Br. 20-27, 1998 WL 858534).




                                            21
      Case 2:25-cv-01435-CMR         Document 1       Filed 03/18/25    Page 22 of 32




       62.    On remand in Smith, the Third Circuit observed that “controlling author-

ity exists when a[n] … entity receiving federal dollars has delegated control to a private

actor.” Smith, 266 F.3d at 160.

       63.    Other courts have similarly held that “an entity that has ‘controlling au-

thority’ over a federally funded program is subject to the antidiscrimination provisions

…, even when the entity does not directly receive federal funding.” Doe One, 2022 WL

3139516, at *12; see also, e.g., id. at *13-14 (holding that pharmacy benefit managers “ex-

ercise controlling authority” over pharmacies’ discriminatory prescription drug benefits

plan and thus are covered by §1557 regardless of whether the PBMs receive federal

financial assistance); Williams v. Bd. of Regents of Univ. Sys. of Ga., 477 F3d 1282, 1294

(11th Cir. 2007) (applying Title IX to a private athletic association affiliated with a public

university when the plaintiff alleged that the university “ceded control over … the ath-

letic department” to the association that disputed that it was a federal-funds recipient).

       64.    Penn Medicine and the Consortium ceded controlling authority over the

Directory to WURD Radio to operate the Directory on a day-to-day basis.

       65.    The Directory states that it was created “in honor of WURD founder,

Walter P. Lomax Jr., M.D.” Ex. A.

       66.    And the Directory is primarily run through WURD’s website, Facebook

account, Instagram page, and YouTube channel as a WURD initiative. See WURD (last

visited Mar. 17, 2025), perma.cc/N6ZY-A6JH; WURD, Facebook (last visited Mar. 17,

2025), bit.ly/3XNfMC2; onWURD, Instagram (last visited Mar. 17, 2025),

                                             22
      Case 2:25-cv-01435-CMR        Document 1      Filed 03/18/25    Page 23 of 32




bit.ly/3FttL9Q; onWURD, YouTube (last visited Mar. 17, 2025), bit.ly/4iHaqQI.

WURD also continues to produce and post new radio segments on health and healing

which are available on the Directory website.

      67.    Defendants have caused and will continue to cause non-black physicians

to be “excluded from participation in,” “denied the benefits of,” and “subjected to dis-

crimination under” the Directory “on the ground of race, color, or national origin.”

§2000d.

      68.    The text of Title VI indicates that it is “always unlawful to discriminate

among persons even in part because of race” without subjecting racial classifications

to strict scrutiny. Harvard, 600 U.S. at 308-09 (Gorsuch, J., concurring).

      69.    Even if the Directory should be analyzed under strict scrutiny, Defendants

cannot satisfy it. “[A]ll racial classifications … must be analyzed by a reviewing court

under strict scrutiny.” Adarand, 515 U.S. at 227 (1995). Defendants “bear[] the burden

to prove that the reasons for any racial classification are clearly identified and unques-

tionably legitimate.” Fischer v. UT-Austin, 570 U.S. 297, 310 (2013) (cleaned up).

      70.    There is no compelling interest that justifies categorically excluding non-

black doctors from the Directory based on race or ethnicity. The Supreme Court has

recognized compelling interests in the use of race in only the narrowest of circum-

stances where those preferences are explicitly designed to remedy recent acts of dis-

crimination and to make the individual subjects of that discrimination whole. Harvard, 600




                                            23
        Case 2:25-cv-01435-CMR      Document 1      Filed 03/18/25     Page 24 of 32




U.S. at 207. Defendants have no “specified, identified instances” of recent “past dis-

crimination” that its Directory is trying to remedy. Id.

        71.    Nor is the Directory narrowly tailored to achieve any compelling interest.

A categorical exclusion of entire racial groups is, by definition, not narrowly tailored.

Non-black doctors’ race operates as a negative against them. The Directory’s use of

race also has no end point. Defendants considered no race-neutral alternatives. And

more.

        72.    Especially in 2025, Defendants should know that federal-funds recipients

should not operate any race-based programs that violate federal anti-discrimination

laws. See, e.g., Exec. Order 14,173, §3(b)(iv) (Jan. 21, 2025). But Penn Medicine especially

is flouting the law by not only continuing to operate the Directory with the other De-

fendants but also operating other racially discriminatory programs for medical students,

including an immersive program for medical students who are “underrepresented in

medicine” that took place just days ago (when Executive Order 14,173 was in effect),

see All. for Minority Physicians, Penn/CHOP Alliance of Minority Physicians: Pathways to

Excellence in Medicine Initiative (last visited Mar. 17, 2025), perma.cc/T8LS-W25H.

        73.    Defendants—through the Directory—are violating Title VI.

                                    COUNT II
              Violation of Section 1557 of the Affordable Care Act
                            (Against All Defendants)
                                (42 U.S.C. §18116)
        74.    Do No Harm repeats and realleges the preceding allegations.


                                            24
      Case 2:25-cv-01435-CMR       Document 1      Filed 03/18/25   Page 25 of 32




      75.    Under Section 1557 of the Affordable Care Act, “an individual shall not

… be excluded from participation in, be denied the benefits of, or be subjected to dis-

crimination under, any health program or activity, any part of which is receiving Federal

financial assistance, including credits, subsidies, or contracts of insurance” because of

race. 42 U.S.C. §18116(a).

      76.    Private entities and individuals can sue to enforce Section 1557 and obtain

both injunctive relief and damages. Id.

      77.    When Congress enacted Section 1557 in 2010, the phrase “program or

activity” had a “prevailing understanding.” T.S. ex rel. T.M.S. v. Heart of CarDon LLC,

43 F.4th 737, 742 (7th Cir. 2022). Namely, the Civil Rights Restoration Act of 1987

cemented the understanding that “program or activity” includes “‘all of the operations

of’—among other entities—‘an entire corporation, partnership, or other private organ-

ization, … which is principally engaged in the business of providing … health care …

any part of which is extended Federal financial assistance.’” Id. And it includes the

“other entities” mentioned in 42 U.S.C. §2000d-4a. Id. So when Section 1557 uses the

same phrase “program or activity,” at a minimum, it includes the entities mentioned in

the Civil Rights Restoration Act. The term “health” modifies “program or activity” and

describes that Section 1557’s applies to “certain types of entities” as defined by HHS.

Id. at 743; see also Doe One, 2022 WL 3139516, at *5.

      78.    HHS regulations also broadly define health program or activity. It means

“[a]ny project, enterprise, venture, or undertaking” to (i) provide or administer health-

                                           25
      Case 2:25-cv-01435-CMR         Document 1       Filed 03/18/25    Page 26 of 32




related services, (ii) provide assistance to persons in obtaining health-related services,

(iii) provide medical care, (iv) engage in health research, or (v) provide health education

for healthcare professionals or others. 45 C.F.R. §92.4. It also includes “[a]ll of the opera-

tions of any entity principally engaged in the provision or administration of any health

projects, enterprises, ventures, or undertakings” described before. Id. (emphasis added).

       79.    The Directory is a health program or activity under Section 1557 for mul-

tiple, independent reasons. First, the Directory is a “project, enterprise, venture, or un-

dertaking” to “provide assistance to persons in obtaining health-related services.” Id.

The Directory seeks to make it easier for black patients to find black doctors. All of the

Defendants are participating in this project, enterprise, venture, or undertaking to-

gether. WURD Radio is doubly responsible because it exercises controlling authority

over the Directory. See, e.g., Doe One, 2022 WL 3139516, at *13-14.

       80.    Second, the Directory is an operation of the Penn Hospital System. Be-

cause the Penn Hospital System is principally engaged in providing medical care and

administering health-related services, all of its operations—including the Directory—

constitute health program or activity. WURD Radio is liable because it exercises con-

trolling authority over the Directory.

       81.    Third, the Directory is an operation of the Penn Medical School and the

Consortium of DEI Health Educators. Because these Defendants are principally en-

gaged in providing health education and health research, all of its operations—including




                                             26
      Case 2:25-cv-01435-CMR       Document 1      Filed 03/18/25    Page 27 of 32




the Directory—constitute health program or activity. WURD Radio is liable because it

exercises controlling authority over the Directory.

      82.    Defendants have caused and will continue to cause non-black doctors to

be “excluded from participation in,” “denied the benefits of,” and “subjected to dis-

crimination under” the Directory because of their race. §18116(a).

      83.    Because the Directory violates Title VI, it also violates Section 1557.

                                     COUNT III
                                  Civil Conspiracy
                              (Against All Defendants)
                            (Pennsylvania Common Law)
      84.    Do No Harm repeats and realleges the preceding allegations.

      85.    Under Pennsylvania common law, a civil conspiracy can be shown if four

elements are met. First, two or more persons “act[ed] with a common purpose to do

an unlawful act or to do a lawful act by unlawful means or for an unlawful purpose.”

PDC Machs. Inc. v. Nel Hydrogen A/S, 2018 WL 3008531, at *4 (E.D. Pa. June 15).

Second, the defendants made “an overt act … in pursuance of the common purpose.”

Id. Third, the conspiracy resulted in “actual legal damage.” Id. Fourth, the defendants

acted with “malice”—that is, “an intent to injure” that lacks “justification.” Id. at *4

(cleaned up) (quoting Thompson Coal Co. v. Pike Coal Co., 412 A.2d 466, 472 (Pa. 1979)).

      86.    Defendants acted with a common purpose to exclude non-black doctors

from the Directory. Defendants touted that they were “in partnership” with each other

to operate the Directory.


                                           27
      Case 2:25-cv-01435-CMR        Document 1     Filed 03/18/25   Page 28 of 32




      87.    That exclusion of non-black doctors is unlawful because it violates Ti-

tle VI and Section 1557. “An actionable civil conspiracy must be based on an existing

independent wrong or tort that would constitute a valid cause of action if committed

by one actor.” Reese v. Pook & Pook, LLC, 158 F. Supp. 3d 271, 292 (E.D. Pa. 2016)

(cleaned up). Wrongful conduct that would be actionable under federal law can support

civil conspiracy under Pennsylvania common law. See, e.g., Watkins v. Pa. Bd. of Prob. &

Parole, 2002 WL 32182088, at *3-7, *10 (E.D. Pa. Nov. 25) (racial discrimination that

violates §1981 and Title VII).

      88.    Defendants committed numerous overt acts. Defendants met to discuss

the Directory’s concept, purpose, launch, and operations. Defendants created the Di-

rectory website, marketed the Directory on YouTube, Facebook, LinkedIn, and Insta-

gram, solicited black doctors to be on the Directory, and continue to facilitate and

direct the Directory’s operation.

      89.    Defendants’ conspiracy resulted in actual “legal harm.” Gregory v. Chehi,

843 F.2d 111, 118 (3d Cir. 1988). Under Pennsylvania law, “the existence of identifiable

damages, even if nominal” can support civil conspiracy. Pelagatti v. Cohen, 536 A.2d

1337, 1346 (Pa. Super. 1987); accord Feinberg v. Eckelmeyer, 2009 WL 4906376, at *13

(E.D. Pa. Dec. 16). It is “the fact of damages, rather than the amount, that is the key

inquiry.” Pelagatti, 536 A.2d at 1346. Here, Defendants’ exclusion of non-black doctors

from the Directory because of race caused actual legal harm.




                                           28
      Case 2:25-cv-01435-CMR          Document 1      Filed 03/18/25     Page 29 of 32




       90.    Racial discrimination by itself inflicts a legal injury. It “demeans the dig-

nity and worth of a person” to judge them “by ancestry instead of by his or her own

merit and essential qualities.” Harvard, 600 U.S. at 220. This “denial of equal treatment

resulting from the imposition of the [racial] barrier” is the injury. Ne. Fla. Chapter of the

Associated Gen. Contractors of Am. v. City of Jacksonville, 508 U.S. 656, 666 (1993); see also

Shea v. Kerry, 796 F.3d 42, 50 (D.C. Cir. 2015) (“the injury lies in the denial of an equal

opportunity to compete, not the denial of the job itself”). Racial discrimination is “es-

sentially irremediable.” AAER v. Fearless Fund Mgmt., LLC, 103 F.4th 765, 780 (11th

Cir. 2024). It’s so pernicious that courts “presume” that the plaintiff suffers not just

any injury—but an irreparable injury—from “racial discrimination.” Gresham v.

Windrush Partners, 730 F.2d 1417, 1424 (11th Cir. 1984); see also, e.g., Silver Sage Partners,

Ltd v. City of Desert Hot Springs, 251 F.3d 814, 827 (9th Cir. 2001); AAER v. Founders

First Cmty. Dev. Corp., 2024 WL 3625684, at *5 (N.D. Tex. July 31). Member A suffered

racial discrimination when he was excluded from the Directory because he wasn’t

black. This injury is redressable by damages, including nominal damages that Do No

Harm seeks here.

       91.    Defendants’ race-based exclusion of non-black doctors also caused the

deprivation of valuable economic benefit for non-black doctors—i.e., free advertising

and marketing platform for doctors to reach patients. Doctors market their services

and specialties through various media. And they must pay money to market their ser-




                                              29
      Case 2:25-cv-01435-CMR        Document 1      Filed 03/18/25   Page 30 of 32




vices. For instance, Member A has paid money to advertise his medical practice. De-

fendants’ racial discrimination has deprived Member A of the valuable economic ben-

efit of advertising his services on the Directory at no cost.

       92.    Defendants also caused competitive injury to non-black doctors by giving

“competitive advantage” to black doctors through free advertising on the Directory.

Feinberg, 2009 WL 4906376, at *11; see also PDC Machs., 2018 WL 3008531, at *5 (harm-

ing the plaintiff’s “competitive advantage” supports civil conspiracy). Currently, black

patients who seek to find a doctor on the Directory will never see a non-black doctor

on the Directory because it excludes non-black doctors. Those patients are substan-

tially likely to be diverted to the black doctors who are on the Directory. For instance,

Member A regularly treats black patients. And though a trained dermatologist, Member

A treats patients with dermatological conditions that implicate allergy, autoimmune

diseases, infectious diseases, and cancer—the specialties specifically featured on the

Directory. Ex. C. Yet black patients won’t see Member A on the Directory and are

likely to go with a black doctor whom they see on the Directory.

       93.    Defendants acted with the intent to injure non-black doctors and without

sufficient legal justification. Defendants intentionally excluded non-black doctors from

the Directory because of their race. Defendants also intentionally sought to divert black

patients away from non-black doctors to black doctors by operating a black-doctors-

only Directory based on their pernicious race-concordance ideology.




                                            30
      Case 2:25-cv-01435-CMR       Document 1     Filed 03/18/25   Page 31 of 32




      94.    There’s no legal justification for this categorical exclusion of non-black

doctors.

                              PRAYER FOR RELIEF
      Do No Harm asks this Court to enter judgment in its favor and against Defend-

ants and to provide the following relief:

      A.     A declaratory judgment that Defendants, through the Black Doctors Di-
             rectory, are violating Title VI, Section 1557, and Pennsylvania law.
      B.     A permanent injunction barring Defendants from operating a directory
             that excludes physicians based on race.
      C.     Nominal damages of $1.
      D.     Reasonable costs and expenses of this action, including attorneys’ fees,
             under 42 U.S.C. §1988 and any other applicable laws.
      E.     All other relief that Do No Harm is entitled to.




                                            31
    Case 2:25-cv-01435-CMR   Document 1   Filed 03/18/25   Page 32 of 32




Dated: March 18, 2025               Respectfully submitted,

/s/ Jonathan S. Goldstein           /s/ Cameron T. Norris
Jonathan S. Goldstein, Esq.         Thomas R. McCarthy*
  (PA Bar No. 201627)               Cameron T. Norris*
Shawn M. Rodgers                    Marie E. Sayer*
  (PA Bar No. 307598)               Zachary P. Grouev*
GOLDSTEIN LAW PARTNERS, LLC         CONSOVOY MCCARTHY PLLC
200 School Alley, Suite 5           1600 Wilson Blvd., Ste. 700
Green Lane, PA 18054                Arlington, VA 22209
(610) 949-0444                      (703) 243-9423
jgoldstein@goldsteinlp.com          tom@consovoymccarthy.com
srodgers@goldsteinlp.com            cam@consovoymccarthy.com
                                    mari@consovoymccarthy.com
                                    zach@consovoymccarthy.com
                                    Attorneys for Do No Harm

                                    *pro hac vice applications forthcoming




                                   32
